        Case 2:22-cv-02062-MWF-AGR Document 35 Filed 08/22/22 Page 1 of 6 Page ID #:1138
Name and address:
Diana Palacios (Cal. Bar No. 290923)
Eric H. Lamm (Cal. Bar No. 324153)
DAVIS WRIGHT TREMAINE LLP
865 S. Figueroa St., 24th Floor,
Los Angeles, CA 90017-2566
Telephone: (213)633-6800
                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA
 TREVOR BAUER                                                               CASE NUMBER
                                                                                             2:22-CV-02062-MWF-AGR
                                                         Plaintiff(s),
                 v.
 THE ATHLETIC MEDIA COMPANY and MOLLY KNIGHT                                  APPLICATION OF NON-RESIDENT ATTORNEY
                                                                                    TO APPEAR IN A SPECIFIC CASE
                                                      Defendant(s),                        PRO HAC VICE
INSTRUCTIONS FOR APPLICANTS
(1) The attorney seeking to appear pro hac vice must complete Section I of this Application, personally sign, in ink, the certification in
    Section II, and have the designated Local Counsel sign in Section III. ELECTRONIC SIGNATURES ARE NOT ACCEPTED. Space to
    supplement responses is provided in Section IV. The applicant must also attach a Certificate of Good Standing (issued within the last 30
    days) from every state bar to which he or she is admitted; failure to do so will be grounds for denying the Application. Scan the
    completed Application with its original ink signature, together with any attachment(s), to a single Portable Document Format (PDF) file.
(2) Have the designated Local Counsel file the Application electronically using the Court's electronic filing system ("Motions and Related
    Filings => Applications/Ex Parte Applications/Motions/Petitions/Requests => Appear Pro Hac Vice (G-64)"), attach a Proposed Order
    (using Form G-64 ORDER, available from the Court's website), and pay the required $500 fee online at the time of filing (using a credit
    card). The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time of filing will be
    grounds for denying the Application. Out-of-state federal government attorneys are not required to pay the $500 fee. (Certain
    attorneys for the United States are also exempt from the requirement of applying for pro hac vice status. See L.R. 83-2.1.4.) A copy of the
    G-64 ORDER in Word or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.
SECTION I - INFORMATION

 Green, Dana R.
Applicant's Name (Last Name, First Name & Middle Initial)                                        check here if federal government attorney

 The New York Times Company (parent company of The Athletic Media Company)
Firm/Agency Name

 620 8th Ave, 13th Fl.                                                   202-556 5290                         212-556-4634
                                                                         Telephone Number                    Fax Number
Street Address

 New York, NY 10018                                                                         dana.green@nytimes.com
City, State, Zip Code                                                                              E-mail Address

I have been retained to represent the following parties:

 The Athletic Media Company                                              ❑ Plaintiff(s) ❑
                                                                                        ✖ Defendant(s)   n Other:
                                                                         ❑ Plaintiff(s) ❑ Defendant(s)   n Other:
Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

                 Name of Court                          Date of Admission           Active Member in Good Standing? (if not, please explain)
 New York                                               October 28, 2010           Yes
 District of Columbia                                    January 6, 2012           Yes
 Second Circuit Court of Appeals                        October 10, 2018           Yes

G-64 (09/20)              APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                              Page 1 of 3
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List all cases in which the applicant has applied to this Court for pro hac vice status in the previous three years (continue in Section IV if
needed):
        Case Number                                     Title of Action                            Date of Application       Granted / Denied?
 N/A                                                         N/A                                  N/A                      N/A




If any pro hac vice applications submitted within the past three (3) years have been denied by the Court, please explain:
 N/A




Attorneys must be registered for the Court's electronic filing system to practice pro hac vice in this Court. Submission
of this Application will constitute your registration (or re-registration) to use that system. If the Court signs an Order
granting your Application, visit www.pacergov to complete the registration process and activate your e-filing
privileges in the Central District of California.

           SECTION II - CERTIFICATION

           I declare under penalty of perjury that:

           (I) All of the above information is true and correct.
           (2) I am not a resident of the State of California. I am not regularly employed in, or engaged in
               substantial business, professional, or other activities in the State of California.
           (3) I am not currently suspended from and have never been disbarred from practice in any court.
           (4) I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and
               Criminal Procedure, and the Federal Rules of Evidence.
           (5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar
               of this Court and maintains an office in the Central District of California for the practice of law, in
               which the attorney is physically present on a regular basis to conduct business, as local counsel
               pursuant to Local Rule 83-2.1.3.4.

               Dated                                                  Dana R. Green
                                                                      Applicant's Name (please type or print)


                                                                      Appitcant's Signature


G-64 (09/20)              APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO MAC VICE                              Page 2 of 3
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SECTION III - DESIGNATION OF LOCAL COUNSEL

 Palacios. Diana
 Designee's Name (Last Name, First Name & Middle Initial)

 Davis Wright Tremaine LLP -
 Firm/AgencyName

 865 S. Figueroa Street. Suite 2400                               213: 633-028                             213-633-6899
                                                                  Telephone Number                         Fax Number
 Street Address                                                   diananalaciosaDdwt.com
                                                                  Email Address
 Los Angeles. CA 90017
 City, State, Zip Code                                            290923
                                                                  Designee's California. State Bar Number

I hereby consent to he foregoing designation as local counsel, and declare under penalty of perjury.that I maintain an office in the
Central District of California for the practice of law, in which I am physically present on a regular basis to conduct business.

               Dated     /t1                                      Diana Palacios
                                                                  Designee's Name (please type or print)


                                                                  Designee's Signature

SECTION IV - SUPPLEMENT ANSWERS HERE_(ATTACH ADDITIONAL PAGES IF NECESSARY"

 List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the
 current status of his or her membership. Use Section IV if more room is nee.ded, or to provide, additional information.

 Fourth Circuit                    Admitted: February 11,2019                     Status: In good standing
 Southern. District of New York    Admitted: April 5, 2011                        Status: In good standing
 Eastern District of New York      Admitted: April 18, 2011                       Status: In good standing
 District of Columbia              Admitted: February 5, 2018                     Status: In good standing




G-64 (09/20)             APPLICATION OF NON-RESIDENT AT FORNEY TO APPEAR IN A SPECIFIC CASE PRO WC VICE                       Page 3 of 3
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               Appellate Division of the Supreme Court
                         of the State of New York
                       Third Judicial Department


         I, Robert D. Mayberger, Clerk of the Appellate Division of
    the Supreme Court of the State of New York, Third Judicial
    Department, do hereby certify that

                         Dana Robinson Green
    was duly licensed and admitted to practice as an Attorney and
    Counselor at Law in all the courts of this State on October 28, 2010,
    has duly taken and subscribed the oath of office prescribed by law,
    has been enrolled in the Roll of Attorneys and Counselors at Law
    on file in this office, is duly registered with the Administration
    Office of the Courts, and according to the records of this Court is
    currently in good standing as an Attorney and Counselor-at-Law.



                                In Witness Whereof, I have hereunto set
                                my hand in the City of Albany on
                                August 17, 2022.




                                      Clerk of the Court


    CertID-00079583
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                                 State of New York
                         Supreme Court, Appellate Division
                            Third Judicial Department
                                 Admissions Office
                           P.O. Box 7350, Capitol Station
                              Albany, NY 12224-0350

                               AD3AdmissionsOffice@nycourts.gov
Robert D. Mayberger                                                              Anthony A. Moore
                            http://www.nycourts.gov/ad3/admissions
 Clerk of the Court                                                             Director of Attorney
                                        (518) 471-4778
                                                                                    Admissions




     To Whom It May Concern:


            An attorney admitted to practice by this Court may request a certificate of good
     standing, which is the only official document this Court issues certifying to an
     attorney's admission and good standing.


            An attorney's registration status, date of admission and disciplinary history may
     be viewed through the attorney search feature on the website of the Unified Court
     System.


            New York State does not register attorneys as active or inactive.


           An attorney may request a disciplinary history letter from the Attorney
     Grievance Committee of the Third Judicial Department.


          Bar examination history is available from the New York State Board of Law
     Examiners.


            Instructions, forms and links are available on this Court's website.




                                                      Robert D. Mayberger
                                                      Clerk of the Court


     Revised January 2022
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              On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
                              the District of Columbia Bar does hereby certify that



                                           Dana Green
            was duly qualified and admitted on January 6, 2012 as an attorney and counselor entitled to
             practice before this Court; and is, on the date indicated below, an Active member in good
                                                 standing of this Bar.




                                                                                   In Testimony Whereof,
                                                                               I have hereunto subscribed my
                                                                              name and affixed the seal of this
                                                                                     Court at the City of
                                                                            Washington, D.C., on August 17, 2022.




                                                                                   JULIO A. CASTILLO
                                                                                    Clerk of the Court




                                                               Issued By:


                                                                                David Chu - Director, Membership
                                                                               District of Columbia Bar Membership




       For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                           memberservices@dcbar.org.
